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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:15-CR-0236 GEB
11
                                  Plaintiff,           [PROPOSED] ORDER DISMISSING COUNT
12                                                     THREE OF THE SUPERSEDING INDICTMENT
                           v.
13
     NELLI KESOYAN,
14
                                 Defendant.
15

16

17          The Court HEREBY GRANTS the United States of America’s motion to dismiss count three of

18 the superseding indictment, charging witness tampering in violation of 18 U.S.C. § 1512(b), as to

19 defendant Nelli Kesoyan. Fed. R. Crim. P. 48(a). Count three of the superseding indictment is

20 dismissed without prejudice as to defendant Nelli Kesoyan.

21          IT IS SO ORDERED.

22          Dated: January 18, 2018

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      [PROPOSED] ORDER
      UNITED STATES V. KESOYAN, 2:15-CR-0236 GEB
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